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     SHAROD GIBBONS
6

7                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,              )   Case No.: 2:15 CR 158 JAM
                                            )
10                       Plaintiff,         )   STIPULATION REGARDING EXCLUDABLE TIME
                                            )   PERIODS UNDER SPEEDY TRIAL
11   vs.                                    )   ACT;FINDINGS AND ORDER
                                            )
12   CHARLES BEAVER and SHAROD GIBBONS,     )   Date:    December 15, 2015
                                            )   Time:    9:15 a.m.
13                       Defendants.        )   Judge:   Honorable John A. Mendez
                                            )
14

15         The United States of America through its undersigned counsel, Justin

16   Lee, Assistant United States Attorney, together with counsel for defendant

17   Charles Beaver, Robert M. Holley, Esq. and counsel for defendant Sharod

18   Gibbons, John R. Manning, Esq., hereby stipulate the following:

19         1.   By previous order, this matter was set for status conference on

20   October 6, 2015.

21         2.   By this stipulation, defendants now move to continue the status

22   conference until December 15, 2015 and to exclude time between October 6,

23   2015 and December 15, 2015 under Local Code T-4 (to allow defense counsel

24   time to prepare).   Defendant Bryce Beaver wishes to remain on calendar for

25   October 6, 2015.

26         3.   The parties agree and stipulate, and request the Court find the

27   following:

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1      a.     The United   States has produced 29 discs containing

2             photographs, audio files, and video files, as well as one

3             disc containing approximately 180 pages of reports.

4      b.     Counsel for the defendants need additional time to review

5             the discovery, conduct investigation, and interview

6             potential witnesses.

7      c.     Counsel for the defendants believe the failure to grant a

8             continuance in this case would deny defense counsel

9             reasonable time necessary for effective preparation, taking

10            into account the exercise of due diligence.

11     d.     The Government does not object to the continuance.

12     e.     Based on the above-stated findings, the ends of justice

13            served by granting the requested continuance outweigh the

14            best interests of the public and the defendants in a speedy

15            trial within the original date prescribed by the Speedy

16            Trial Act.

17     f.     For the purpose of computing time under the Speedy Trial

18            Act, 18 United States Code Section 3161(h)(7)(A) within

19            which trial must commence, the time period of October 6,

20            2015, to December 15, 2015, inclusive, is deemed excludable

21            pursuant to 18 United States Code Section 3161(h)(7)(A) and

22            (B)(iv), corresponding to Local Code T-4   because it

23            results from a continuance granted by the Court at the

24            defendants' request on the basis of the Court’s finding

25            that the ends of justice served by taking such action

26            outweigh the best interest of the public and the defendants

27            in a speedy trial.

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1            4.   Nothing in this stipulation and order shall preclude a finding that

2    other provisions of the Speedy Trial Act dictate that additional time periods

3    are excludable from the period within which a trial must commence.

4            IT IS SO STIPULATED.

5
     Dated:   September 30, 2015                  /s/ Robert M. Holley
6                                                 ROBERT M. HOLLEY
                                                  Attorney for Defendant
7                                                 Charles Beaver

8
     Dated:   September 28, 2015                  /s/ John R. Manning
9                                                 JOHN R. MANNING
                                                  Attorney for Defendant
10                                                Sharod Gibbons

11

12   Dated:   September 28, 2015                  Benjamin B. Wagner
                                                  United States Attorney
13
                                                  /s/ Justin Lee
14                                                JUSTIN LEE
                                                  Assistant United States Attorney
15
                                            ORDER
16

17
              The Court, having received, read, and considered the
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     stipulation of the parties, and good cause appearing therefrom,
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20   adopts the stipulation of the parties in its entirety as its

21   order.       IT IS SO FOUND AND ORDERED this 30th day of September,
22
     2015.
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24                                                /s/ John A. Mendez
                                                  HONORABLE JOHN A. MENDEZ
25
                                                  UNITED STATES DISTRICT COURT
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